Case 8:17-cv-01386-DOC-KES Document 56 Filed 02/15/18 Page 1 of 5 Page ID #:1745
           THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA


  Billie Rene' Frances Lillian Powers                                        ~,.     o
  P.O. Box 1501
  Newport Beach, California [92659]                                                  -~
                                                                        i            r-~
                                                                                     a~    .~
  949-374-4052
  Plaintiff'pro per                                                         ~~~,     u'
                                                                                            t
                                                                                     -~    ;"~'i
                                                                                             ~
                                                                             r ~`;
                                                                               ~~~   ~
                                                                                     ~
  Billie Rene' Frances Lillian Powers,     Case No. Case # 8:17-CV-013 6-DO(~•~fES w

         Plaintiff Pro Per                 Assigned to

         vs.                               District Judge: Hon. David 0. Carter

  THE BANK OF NEW YORK MELLON              Courtroom 9D

                                           Assigned Discovery Magistrate Judge:
  FKA THE BANK OF NEW YORK;THE
                                           Hon. Karen E. Scott
  BANK OF NEW YORK MELLON,F/K/A

  THE BANK OF NEW YORK,AS
                                           Plaintiff's Reply Opposing Docket #35;
  TRUSTEE,ON BEHALF OF THE                 Defendants' Notice of Motion and Motion to
                                           Dismiss Plaintiff's Second Amended
  HOLDERS OF THE ALTERNATIVE
                                           Complaint: Memorandum of Points Thereof;
  LOAN TRUST 2007-HY9, MORTAGE             Declaration of Steven M. Dailey

  PASS-THROUGH CERTIFICATES

  SERIES 2007-HY9; THE BANK OF NEW         DATE: 5 March 2018
                                           TIME: 8:30 am
  YORK MELLON FKA THE BANK OF              DEPT: 9D

  NEW YORK,AS TRUSTEE,FOR THE

  CERTIFICATE HOLDERS CWALT INC.,

  ALTERNATIVE LOAN TRUST 2007-HY9

  MORTGAGE PASS THROUGH

  CERTIFICATES,SERIES 2007-HY9;
Case 8:17-cv-01386-DOC-KES Document 56 Filed 02/15/18 Page 2 of 5 Page ID #:1746
            THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA


  BANK OF AMERICA;

  COMMONWEALTH LAND TITLE

 INSURANCE; ALTERNATIVE LOAN

  TRUST 2007-HY9; THE WOLF FIRM,A

  LAW CORPORATION; QUALITY LOAN

  SERVICING CORPORATION;SELECT

 PORTFOLIO SERVICING INC.;Jon

  Secrist

                 DEFENDANTS




 J udge David Carter—


  We are in Opposition to Defendants' Notice of Motion and Motion to Dismiss Plaintiff's Second

  Amended Complaint: Memorandum of Points Thereof; Declaration of Steven M. Dailey.


  Defendants claim violation of-


  FRCP 12(b)(6) Failure to state a claim-


  In the Second Amended Complaint, we have stated our claims for —1)Adverse Possession; 2)

  Cancellation of Instruments [Breach of Contract]; 3) Wrongful Foreclosure [Consumer Fraud]; 4)

  Restitution, Damages, and Costs of Action
Case 8:17-cv-01386-DOC-KES Document 56 Filed 02/15/18 Page 3 of 5 Page ID #:1747
           THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA


  FRCP 12(b)(7) Failure to name a party-


  The parties are named in the caption of this action -


  THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK;THE BANK

  OF NEW YORK MELLON,F/K/A THE BANK OF NEW YORK,AS TRUSTEE,ON

  BEHALF OF THE HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-HY9,

  MORTAGE PASS-THROUGH CERTIFICATES SERIES 2007-HY9; THE BANK OF

  NEW YORK MELLON FKA THE BANK OF NEW YORK,AS TRUSTEE,FOR THE

  CERTIFICATE HOLDERS CWALT INC.,ALTERNATIVE LOAN TRUST 2007-HY9

  MORTGAGE PASS THROUGH CERTIFICATES,SERIES 2007-HY9; BANK OF

  AMERICA; COMMONWEALTH LAND TITLE INSURANCE;ALTERNATIVE LOAN

  TRUST 2007-HY9; THE WOLF FIRM,A LAW CORPORATION; QUALITY LOAN

  SERVICING CORPORATION;SELECT PORTFOLIO SERVICING INC.;JON

  SECRIST

  Within their motion, defendants are departing into case argument with their supply of Exhibits

  A-Z and AA-AN, and citations in support of their argument. We are here for procedural issues

  only regarding motion to dismiss. None of these exhibits or arguments have been reviewed or

  challenged. No pre-trial meetings have been attended.
Case 8:17-cv-01386-DOC-KES Document 56 Filed 02/15/18 Page 4 of 5 Page ID #:1748
           THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA


  Defendants state that they have never met with Plaintiff to discuss resolution of this case.

  Defendants' statement is correct. The Defendants have never met with Plaintiff, either

  individually or as a group, despite invitation to meet and greet on 4 February 2018, and 14

  February 2018 per our memorandum of Defendants' non-Attendance at two scheduled

  meetings, filed on 14 February 2018. This is a fairly complex case, and we will try this case

  before a jury.


  In Regards to Declaration of Steven M. Dailey; No Declaration is attached. We would oppose

  any declaration of Steven M. Dailey as hearsay and inadmissible.


  We are requesting separately permission to file a Third Amended Complaint.




                                               Respectfully,                           ~

                                                                         ~~'        ~~'
  Date:,2~ February 2018                       Billie Rene' Frances Lilian Powers, pro per
                                        ~.
Case 8:17-cv-01386-DOC-KES Document 56 Filed 02/15/18 Page 5 of 5 Page ID #:1749
            THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA


                                                            Case Number: 8:17-cv-01386-OC-KES

  PROOF OF SERVICE

  Reply Opposing Motion to Dismiss Docket #35



  i,Dave McCrae, am over the age of 18 and not a party to this case. Process of Service was
  completed by e-mail from Costa Mesa, California.



  sxb@severson.com aaf@severson.com
  kea@severson.com tph@severson.com
  steven.dailey@kutakrock.com
  cheri.marten@kutakrock.com
   M ichelle.west@kutakrock.com
  rebecca.wilson@kutakrock.com
  wendy.bonsall@kutakrock.com gavin.tsang@
  bnymellon.com




  Respectfully,



          ~~
        .i
       ~~
  Date: ~5 February 2018


                                                                     by: Dave McCrae

                                                                        350 Cee Run

                                                                   Bertram, TX 78605

                                                      xstek99@gmail.com / 512.557.0283
